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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



OXBOW CARBON & MINERALS LLC, et al.,

                       Plaintiffs,                               Civil Action No. 11-cv-1049
               v.                                                (PLF/GMH)

UNION PACIFIC RAILROAD                                             NOTICE OF FILING OF
COMPANY and BNSF RAILWAY COMPANY,                                SUPPLEMENTAL BRIEF IN
                                                               RESPONSE TO STATEMENT OF
                       Defendants.                                      INTEREST

       On March 16, 2020, the Court issued an order in the above referenced matter (“Oxbow

Action”), and the related MDL Docket No. 1869, Misc. No. 07-489 (PLF/AK/GMH) (“MDL

Action”) inviting the United States “to submit a statement of interest in this case with respect to

the interpretation and application of 49 U.S.C. § 10706” (“Statement of Interest”). (ECF No.

185). Pursuant to that Order and a Court-granted extension (ECF No. 199), the United States

submitted its Statement of Interest on July 13, 2020. (ECF No. 203). The Court ordered Plaintiffs

and Defendants in the Oxbow and MDL Actions to respond to the United States’ Statement of

Interest by August 3, 2020. (ECF Nos. 185 and 199).

       Consistent with the Court’s Order, Plaintiffs in the Oxbow and MDL Actions jointly filed

Plaintiffs’ Supplemental Brief in Response to the United States’ Statement of Interest Regarding

the Meaning of 49 U.S.C. § 10706(a)(3)(B)(iii) (“Plaintiffs’ Statement of Interest Response”) in

the docket for the MDL Action, and are serving Plaintiffs’ Statement of Interest Response on

Defendants in the Oxbow and MDL Actions. Oxbow files this Notice to incorporate and adopt

Plaintiffs’ Statement of Interest Response in this action and to notify all parties and the Court of

the filing of Plaintiffs’ Statement of Interest Response.

                                              Respectfully submitted,
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Dated: August 3, 2020              s/Meegan Hollywood
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